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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

STACY ERNST et al.                            )
                                              )      Case No. 08-C-4370
         Plaintiffs,                          )
                                              )      Judge Rebecca R. Pallmeyer
         v.                                   )
                                              )
CITY OF CHICAGO                               )
                                              )
         Defendant.                           )

                       AMENDED JUDGMENT ORDER RELATING TO
                            PLAINTIFF KATHERINE KEAN

         Pursuant to and consistent with the Court’s Memorandum Order and Opinion dated

December 21, 2018, ECF No. 790, and the September 19, 2016 Order of the United States Court

of Appeals for the Seventh Circuit, the Court vacates the Judgment Order entered February 5,

2019, ECF No. 808, and enters judgment in favor of Katherine Kean (“Kean”) and against the

Defendant City of Chicago (“City”) on her claim of disparate impact and orders as follows:

         1.      The Court awards Kean backpay damages for disparate impact discrimination

totaling $441,124, consisting of $313,588 in lost earnings and $127,536 in prejudgment interest.


         2.      Within 60 days of the entry of this Order, the City shall pay to Kean the amounts

set forth in paragraph 1. The City shall pay the employer share of Medicare tax and withhold the

employee-share of Medicare tax from wages but shall not withhold social security taxes. The City

shall issue the appropriate W-2 for the wage and tax awards for 2019 that indicates this pay is not

subject to social security tax because Kean is a participant in a City of Chicago pension fund, as

well an appropriate 1099-Int for the prejudgment interest portion of such award for 2019.




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         3.    Kean has elected not to be instated as a Chicago Fire Department paramedic. Thus,

within 60 days of the entry of this Order, the City shall pay to Kean $143,876 for the value of her

lost vested pension benefits as of January 25, 2019, and the amount necessary to offset the tax

penalty for receiving the payment in one lump sum. The City shall pay the employer share of

Medicare tax and withhold the employee-share of Medicare tax from this pension award but shall

not withhold social security taxes because Kean is a participant in a City of Chicago pension fund.

The City shall include these payments in the W-2 it issues for 2019 for Kean.


         4.    This final order resolves Kean’s claim of disparate impact against the City. Kean

voluntarily dismisses her claim of disparate treatment against the City, with each side agreeing to

bear its own costs relating to that claim. Accordingly, Kean’s claims of disparate impact and

disparate treatment are dismissed with prejudice. Kean’s claim for attorneys’ fees, costs and

expenses, which she has assigned to her counsel, is resolved by separate order.


         5.    By agreement of the parties, the City’s motion to modify or amend the

Memorandum Opinion and Order, ECF No. 815, is hereby dismissed as moot. By agreement of

the parties, this final order is unappealable and resolves all claims asserted by Katherine Kean,

except those for attorney’s fees, which are resolved by separate order.


         6.    The Court retains jurisdiction to enforce the terms of this final judgment order.


                                                    ENTERED:




 Date: May 2, 2019
                                                    Judge Rebecca R. Pallmeyer




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